     Case
      B2100A16-23867-GLT
            (Form 2100A) (12/15)     Doc 51     Filed 05/19/21 Entered 05/19/21 08:00:12                        Desc Main
                                                Document     Page 1 of 1
                                       UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF PENNSYLVANIA (Pittsburgh)
     IN RE:                                                     Case No:                    16-23867
                                                                Loan Number (Last 4):       7974
     Debtors: Nancy J. Burns
                                TRANSFER OF CLAIM OTHER THAN FOR SECURITY

      A CLAIM HAS BEEN FILED IN THIS CASE or deemed filed under 11 U.S.C. § 1111(a). Transferee hereby gives
      evidence and notice pursuant to Rule 3001(e)(2), Fed. R. Bankr. P., of the transfer, other than for security, of the claim
      referenced in this evidence and notice.
      LSF9 Master Participation Trust                               LSF9 MASTER PARTICIPATION TRUST
      Serviced by Select Portfolio Servicing, Inc.                  c/o Caliber Home Loans, Inc.
                       Name of Transferee                                             Name of Transferor
      Name and Address where notices to transferee should
      be sent:
                                                                    Court Claim # (if known):          5
         PO Box 65250
         Salt Lake City, UT 84165                                   Amount of Claim:                   $75,900.75

                                                                    Date Claim Filed:                  12/29/2016
      Phone:                      1-800-258-8602                    Last Four Digits of Acct #:        2847
      Last Four Digits of Acct #: 7974
      Name and Address where transferee payments should
      be sent (if different from above):

         Select Portfolio Servicing, Inc.
         Attn: Remittance Processing
         PO Box 65450
         Salt Lake City, UT 84165-0450

      Phone:                      1-800-258-8602
      Last Four Digits of Acct #: 7974


        I declare under penalty of perjury that the information provided in this notice is true and correct to the best of my
        knowledge and belief.

       By:      /s/ John Shelley                                     Date: 05/18/2021
                InfoEx, LLC, as authorized filing agent
                 (Approved by: Dilan Foutz)

       Specific Contact Information:
       Dilan Foutz - BK Specialist
       Phone: 1-800-258-8602




       Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§
       152 & 3571.




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